            Case: 1:22-cr-00069-SJD Doc #: 16 Filed: 08/17/22 Page: 1 of 1 PAGEID #: 41
                                             UNITED STATES DISTRICT COURT
                                                  SOUTHERN DISTRICT OF OHIO
                                                      WESTERN DIVISION
 UNITED STATES OF AMERICA,
            Plaintiff,
           v.                                                           Case No. 1:22-cr-00069
  ALEX ROMAN NGUYEN,
           Defendant.
                                              CRIMINAL MINUTES before
                                           Magistrate Judge Stephanie K. Bowman
 Courtroom Deputy: Kevin Moser
 Court Reporter: Julie Wolfer (Official)                                    Date/Time: 8/17/2022     @ 1:30 p.m.
 United States Attorney: Fritz Shadley
 Defendant Attorney: Zenaida Lockard (FPD)                                  Interpreter:    NIA
 D   By telephone D By videoconferencing      D Deft does/does not consent to proceed
 Initial Appearance: □ Complaint; (2gindictment; □Information;Opetitionfor supervised release □ Rule 5(c)/32.1 Proceedings
[g] Counsel present                 D Superseding Indictment                                        □ Pretrial Release Violation
l&J Defendant informed of charges and potential penalties D Defendant informed of nature of supervised release violation(s)
I&] Defendant informed of his/ her rights l&l Defendant provided copy of charging document D copy provided to counsel (if sealed)
D Government moves for defendant to be detained pending detention hearing _ _ _ _ _ _ _ __ _
D Financial affidavit presented to the Court/Defendant D Defendant informed ofright to consulate notification (if applicable)
D Counsel appointed O FPO D CJA) D Charging document unsealed upon oral motion of the United States
D   Government informed ofrequirements offed. R. Crim. P. 5(f)                            D Defendant did not contest detention at this time
 Detention: □ Defendant to be detained pending trial pursuant to pretrial detention order
    . t"ff w·t
 Piam                                                                                  □Detention is moot-active parole/probation detainer
       1    1ness                                                                         DDetent10n
                                                                                                  · 1s· moot - servmg
                                                                                                                   · state sentence
 Defendant Witness_ _ __ _ _ _ _ _ __ _ _ _ _ _ __ _ _ _ _                                        D Home Incarceration
0 OR D Secured with _ _ __ _ _ _ _ _ _ _ _...._,Electronic Monitor D Other O Home Detention D Curfew
0 Third-Party Custodian:                                      □ Location Monitoring O GPS D RF D Stand Alone
 Special Conditions ofRelease:OPretrial/Probation Supervision □ Drug testing & TreatmentOmaintain employment & verify
□ refrain from all/excessive alcohol □ narcotic drugs unless prescribed[Juse/possession of fireanns □Travel Restricted to
0 no contact with any potential victim or witness, to include co-defendants D resolve all outstanding warrants O Surrender Passport
                                                                       Do not obtain passport       D Mental Health Eval/Treatment
Pretrial Bond Violation Hearing:
D bond revoked - defendant detained pending trial Obond continued Obond modified: _ _ _ _ __ _ _ _ _ __ _ _ __

Preliminary Exam Hearing set _ __ _ _ __ _ _ __
Preliminary Exam:OProbable Cause found;Onot found; D waived; □ bond continued/denied
AUSA Witnesses·_ _ _ _ _ _ _ _ _ _ __          Defendant Witnesses: _ _ _ _ _ _ _ _ _ __

AUSA Exhibits: _ _ _ _ _ _ __ _ _ _ __                   Defendant Exhibits: _ _ _ _ _ _ _ _ _ _ __


Arraignment on I&] Indictment       D   Superseding Indictment O Second Superseding Indictment
Defendant waives reading I&]                                Defendant pleads: D GUILTY I&] NOT GUILTY
D PSI ordered                                               □ Sentencing set for _ _ _ _ _ _ __ _ _ _ _ __
(g] Case to proceed before JUDGE DL0TT

Removal Hearing (Rule 5c or Rule 32.1):
D Defendant waives Identity Hearing                D   Defendant waives Detention Hearing in this district
0 Defendant waives Preliminary Hearing in this district
0 Commitment to Another District Ordered           D Removed to _ _ _ __ _ _ _ _ _ _ __ __ _
D Probable Cause Found
                                                  D Defendant to voluntarily report to charging district no later than
Remarks:
